Case 5:24-cv-01336-JGB-DTB   Document 55-38   Filed 06/16/25   Page 1 of 29 Page
                                  ID #:1540




                                EXHIBIT D
                        to Declaration of Steve Loe
  Case 5:24-cv-01336-JGB-DTB   Document 55-38 Filed 06/16/25   Page 2 of 29 Page
                                    IDEXHIBIT
                                   SOS #:1541 283




   Steve Loe Sur-Rebuttal
   Summary of Testimony
State Water Resources Control Board, Division of Water Rights
   Enforcement Branch v. BlueTriton Brands, Inc. (INV 8217)




                                                                                   SOS 283 001
     Case 5:24-cv-01336-JGB-DTB   Document 55-38 Filed 06/16/25   Page 3 of 29 Page
                                       IDEXHIBIT
                                      SOS #:1542 283




BTB Has Altered Hydrologic Conditions in
          Strawberry Canyon

“The monthly monitoring maps show hydrologic conditions similar to those described by Mr.
Rowe for the period from August 1930 to April 1931.” –Nichols (BTB-7 (paragraph 122))




Opinion: The Flow in Strawberry Creek is Much Diminished from Pre-Diversion
Conditions, evidenced by changes in measured flow, changes in the extent of riparian
landscape, BTB’s flow measurements compared to historic measurements, reports of the
US Forest Service, and the statements of Dames & Moore.




                                                                                       SOS 283 002
                  Case 5:24-cv-01336-JGB-DTB          Document 55-38 Filed 06/16/25          Page 4 of 29 Page
                                                           IDEXHIBIT
                                                          SOS #:1543 283




Pre-Diversion, Strawberry Creek was fed by a
  strong flow from the headwater springs
•   “I have made no mention of the question of the origin of the springs and their source of water supply, because we can assume that
    they have been flowing for a great many years and the water has been entering Strawberry Creek.”
                                                                                            –W.P. Rowe (July 12, 1930) (SOS 055_028)

•   “Strawberry Creek drains a portion of the south slope of the San Bernardino Mountains. It has its source at a group of springs
    which issue from the side of Strawberry peak. . . . The flow from these springs being deep seated should be fairly regular,
    especially during the late summer season. The observations show this to be the case. The dependable supply will aggregate
    about 10 inches of which 8 inches are at present diverted from spring #2 into the pipe line leading to the Arrowhead hotel and
    vicinity. The water not so diverted flows down the side hill to a common junction at a narrow bed rock gully lined with alder,
    sycamore, dogwood and cedar trees together with ferns and thimble berry bushes. The junction of flow from all of the upper
    springs at the head of Strawberry Creek is at station 123 + 00, or 12,300 feet upstream from the old intake . . . to Arrowhead Hotel
    which was laid in 1929. About a quarter of a mile downstream from this junction point, the stream enters a little valley caused by
    faulting along the side of the San Bernardino Mountains. At this valley or Cienega the flow is augmented by more springs [10, 11,
    12]. From the lower end of the Cienega at station 84+00 to the first bed rock crossing Strawberry creek on the surface, which is at
    station 61+00, the stream flows in a typical gravel and boulder covered canyon bottom lined with alder, sycamore and bay trees.”
                                                                                       –W.P. Rowe (May 15, 1931) (SOS 051_001-002)




                                                                                                                         SOS 283 003
    Case 5:24-cv-01336-JGB-DTB         Document 55-38 Filed 06/16/25        Page 5 of 29 Page
                                            IDEXHIBIT
                                           SOS #:1544 283




                         Precipitation 1930
•   1929 through 1934, before and while Rowe was observing the Headwaters Springs, were dry years.
•   Very low flow shown at East Twin Creek for 1928-1932.


                                               “During the winter of 1930-31, there were very few rains of sufficient
                                               quantity to produce any flash runoff. Because of these comparatively light
                                               rains and the absence of snow storage, the season was an ideal one for
                                               study”—Rowe (SOS 051_002)




         SOS 026_11
         Bearmar 2017 Geotechnical Report                                                 SOS 017_074
                                                                                          Dames & Moore 2002




                                                                                                       SOS 283 004
           Case 5:24-cv-01336-JGB-DTB   Document 55-38 Filed 06/16/25   Page 6 of 29 Page
                                             IDEXHIBIT
                                            SOS #:1545 283




Rowe
Map/Haley                                           FL-2
Aldrich Flow
Monitoring
                                                Cienega
Locations                                       Inflow

                                                TR-BF-50



                                            TR-BF-XS-43




                                                                                                 SOS 049



                                                                                            SOS 283 005
                  Case 5:24-cv-01336-JGB-DTB   Document 55-38 Filed 06/16/25   Page 7 of 29 Page
                                                    IDEXHIBIT
                                                   SOS #:1546 283




Haley
Aldrich
Map/Rowe
Flow
Monitoring                               Rowe Weir 1

Locations




Haley & Aldrich
BTB-7_540                                  Cienega




                                                                                                   SOS 283 006
  Case 5:24-cv-01336-JGB-DTB      Document 55-38 Filed 06/16/25        Page 8 of 29 Page
                                       IDEXHIBIT
                                      SOS #:1547 283




   September 2016 v. August 1930
BTB Location             September 2016 Flow   1930 Flow (GPM)          Rowe Location
                         (GPM)
Spring 1 (Horizontal              0              11 (July 3, 1930)      Spring 1
Borings 1, 1A, 8)
Spring 2 (Tunnel 2)               0              59 (July 3, 1930)      Spring 2

Spring 3 (Tunnel 3)               0              19 (July 3, 1930)      Spring 3

Spring 4 (GR-1)                   2              67 (July 3, 1930)      Spring 4

FL-2                            0.08             170 (July 3, 1930)     Weir 1/Stn. 121

                                                46.8 (Dec. 15, 1930)    Flow above Stn. 90

                                  0             17.1 (Dec. 15, 1930)    Cienega (inflow at—not
                                                                        part of main channel)
Spring 10, 11, 12 (TR-            0              63 (Dec. 15, 1930)     Cienega (flow
BF-50/)                                                                 below)/Stn. 84
TR-BF-XS-49                      6.6

TR-BF-XS-43                      3.2

                                                                        Weir 2/Stn. 61

                                        Sources: BTB-7_214-215, SOS 040, SOS 044, SOS 048




                                                                                                 SOS 283 007
                       Case 5:24-cv-01336-JGB-DTB        Document 55-38 Filed 06/16/25          Page 9 of 29 Page
                                                              IDEXHIBIT
                                                             SOS #:1548 283




    Modern Observations
•   My Observations: The entire area above Weir 1 at the confluence of the Upper Springs is basically dry in normal or below normal
    years.

•   BTB’s Own Reporting of long stretches of dewatered creek where Rowe reported flow (see table on slide 7)

•   The Forest Service has demanded more flow to replicate natural conditions (SOS 007_008)




                                                                                                                           SOS 283 008
                      Case 5:24-cv-01336-JGB-DTB         Document 55-38 Filed 06/16/25   Page 10 of 29 Page
                                                              IDEXHIBIT
                                                             SOS #:1549 283




    Modern Observations 2:
    Dames & Moore
•   Dames & Moore: “Based on the historical information concerning
    Arrowhead Springs, there is no indication that these springs have
    ever stopped flowing, even during drought conditions, except
    when the flows are diverted by the associated bore holes.
    Thus these springs are classified as perennial springs.” (SOS
    016_60 (bold added) (1999))

•   Dames & Moore: “if spring water were not harvested in Area A,
    the surface water flow in the stream channel below Station 1
    would be expected to increase, with the average base flows over
    most of the central watershed Reaches increasing by
    approximately 20 gpm. For most of the stream Reaches in Areas
    A,D, and E, the additional flow would widen and deepen the
    surface water flow. Additionally, if spring water were not
    harvested, it has conservatively been assumed that surface water
    flow would occur in stream Reaches 2, 5, and 6, located below
    the Arrowhead Springs.” (SOS 017_25.)




                                                             SOS 017_073



                                                                                                              SOS 283 009
      Case 5:24-cv-01336-JGB-DTB   Document 55-38 Filed 06/16/25   Page 11 of 29 Page
                                        IDEXHIBIT
                                       SOS #:1550 283




Modern Observations 3:
Dames & Moore




                                     SOS 017_020                      SOS 017_076




                                                                                        SOS 283 010
                      Case 5:24-cv-01336-JGB-DTB                Document 55-38 Filed 06/16/25                 Page 12 of 29 Page
                                                                     IDEXHIBIT
                                                                    SOS #:1551 283




                Forest Service Has Rated Each of the Springs Poor Due to Water
                                 Quantity/Altered Hydrograph
Spring Number       Quote                                                                                                                                       Page
2                   “The Existing Condition does not operate Tunnel 2 to partially mimic the natural hydrograph associated with this spring location, so the    SOS
                    current rating is Poor (Impaired).”                                                                                                         027_33
                    “As Tunnel 2 extraction prevents continued aquatic habitat from being supported on the surface, the Existing Condition has a Poor           (USFS/T
                    rating.”                                                                                                                                    aylor,
                                                                                                                                                                2017)
3                   “The Existing Condition does not operate Tunnel 3 to partially mimic the natural hydrograph associated with this spring location, so the    34
                    current rating is Poor (Impaired).”
                    “The Existing Condition at Tunnel 3 has dewatered the channel and made it intermittent at best, reducing the diversity of native riparian
                    vegetation compared to the potential in a perennial system. As the information provided by the permittee indicates that Tunnel 3 always
                    produces some water, the natural condition would be locally perennial. The existing rating is Poor (Impaired). “
1, 1A, 8            “The Existing Condition does not operate Boreholes 1, 1A, and 8 to partially mimic the natural hydrograph associated with these             35-36
                    groundwater locations, so the current rating is Poor (Impaired).”
                    “The Existing Condition at Boreholes 1, 1A, and 8 has dewatered the channel and made it ephemeral until further downgradient where
                    other springs feed the channel, reducing the diversity of native riparian vegetation compared to the potential in a perennial system. As
                    the information provided by the permittee indicates that Boreholes 1, 1A, and 8 always produces some water, the natural condition
                    would be locally perennial. The existing rating is Poor (Impaired).”
7, 7A, 7B, 7C       “The Existing Condition does not operate Boreholes 7, 7A, 7B, and 7C to partially mimic the natural hydrograph associated with these        36-37
                    groundwater locations, so the current rating is Poor (Impaired).“
                    “The Existing Condition at Boreholes 7, 7A, 7B, and 7C has dewatered the channel and made it ephemeral downgradient (about ¾
                    mile) until the influence of the Waterman Canyon fault makes the channel intermittent. This water extraction reduces the diversity of
                    native riparian vegetation.”
10, 11, 12          “The Existing Condition does not operate Boreholes 10, 11, and 12 to partially mimic the natural hydrograph associated with these           37
                    groundwater locations, so the current rating is Poor (Impaired). “
                    “Boreholes 10, 11, and 12 were developed to capture water backed up by the Waterman Fault that had been expressing from a
                    sediment wedge that has been described as a meadow habitat.”
                    “The Existing Condition at Boreholes 10, 11, and 12 has partially dewatered the channel and made it intermittent from downgradient of
                    the Waterman fault to the confluence with the main channel of Strawberry Creek. As the information provided by the permittee indicates
                    that Boreholes 10, 11, and 12 always produces some water, the natural condition would be locally perennial. “




                                                                                                                                               SOS 283 011
            Case 5:24-cv-01336-JGB-DTB         Document 55-38 Filed 06/16/25          Page 13 of 29 Page
                                                    IDEXHIBIT
                                                   SOS #:1552 283




Prior to diversion there was more riparian
vegetation, indicating a change in hydrology

  •   At Camp 2 there were alders covering about 75 foot wide on July 3, 1930 (SOS 040_007)
  •   Below weir #1 at 4,665 feet the creek was lined with alder fern and willow (SOS 040_006)
  •   Between Weir #1 at station 121 and station 86, just below 10, 11, 12 Rowe observed “heavy alder growth” (SOS
      055_51)
  •   From the lower end of the Cienega to station 61 is lined with alder, sycamore and bay (SOS 051_001-002)
  •   Rowe focused on evapotranspiration in his study, so it must have been a “problem” on a scale difficult to imagine
      today (SOS 042, 054, 055)




                                                                                                                   SOS 283 012
          Case 5:24-cv-01336-JGB-DTB          Document 55-38 Filed 06/16/25          Page 14 of 29 Page
                                                   IDEXHIBIT
                                                  SOS #:1553 283




    Development of Spring #2 Dramatically
            Altered Hydrology
•   First Spring developed by BTB predecessors
•   Mr. Rowe speculated that diversion would cause the stream below Spring #2 to go dry: “it is probable that the stream will
    go dry above weir #2 during the coming summer as spring #2 will be diverted continuously.” (SOS 051_003, bottom of
    first full paragraph.)
•   Stream flow at the confluence of 1, 2, 3, 4 was 170 gpm on July 3, 1930 (SOS 040_006 prior to diversion and dropped to
    20 gpm in October 1930 after development of Spring 2 (SOS 044_001)
•   Spring 4, the “Big Spring” before development, almost went dry after #2 developed: flows at 4 on July 3, 1930 were 67
    gpm (SOS 040_005) and dropped to a trace after (SOS 044_1, 2, 3, SOS 040_005)
•   Rowe called the camp at the top of the mountain near 1, 2, 3, 4 the “Springs Camp” prior to development (SOS 049)




                                                                                                                 SOS 283 013
      Case 5:24-cv-01336-JGB-DTB     Document 55-38 Filed 06/16/25    Page 15 of 29 Page
                                          IDEXHIBIT
                                         SOS #:1554 283




There is clear evidence of the location of the
                original springs

  ““There is no clear evidence indicating where spring orifices may have been located in proximity
  to the tunnels and boreholes at the time they were originally developed. –Nichols (BTB-7
  (paragraph 130)



  Opinion: It is possible to discern the location of the original springs with sufficient clarity
  to determine that the diverted water would have flowed into to Strawberry Creek.




                                                                                               SOS 283 014
                  Case 5:24-cv-01336-JGB-DTB    Document 55-38 Filed 06/16/25    Page 16 of 29 Page
                                                     IDEXHIBIT
                                                    SOS #:1555 283




   FS/Highway Spring
• “The so-called ‘Highway Spring’ is northerly and easterly of Spring No. 1.” (SOS 057_002)

• Rowe felt that Springs 1, 2, 3, and the highway diversion all originated from the same
  fault line (SOS 057_002)

• Forest Service Geo-Sciences Specialist Report by Michelle Bearmar identifies Spring 4
  diversion as a cause in changed flow to this Spring (SOS 026_026)




                                                                                                      SOS 283 015
              Case 5:24-cv-01336-JGB-DTB    Document 55-38 Filed 06/16/25   Page 17 of 29 Page
                                                 IDEXHIBIT
                                                SOS #:1556 283




Springs 1, 1a, 8
• Spring 1 not added to the collection system until after 1948 , and, when it was
  flowing naturally on April 13, 1948, the discharge was 10.5 gallons per minute. SOS
  57_006 (Rowe 1948)
• Spring 8 added around 1948/1950 (FR 153_5 (ETW, 1976); SOS 277_028)




                                                                                                 SOS 283 016
                  Case 5:24-cv-01336-JGB-DTB    Document 55-38 Filed 06/16/25     Page 18 of 29 Page
                                                     IDEXHIBIT
                                                    SOS #:1557 283




                                                 Spring 2
• The location of “is west of #1 about 400’ and lower in elevation” emerging from
  bedrock. (SOS 040_004 (Rowe, July 31, 1930)
• Development dewatered “Big Spring” #4 (SOS 044_1, 2, 3)
• Collection facilities at spring show three different inflows to the tunnel (see below)




                                                   SOS 016_015 (Dames &
                                                   Moore 2019)




                                                                                                       SOS 283 017
                  Case 5:24-cv-01336-JGB-DTB      Document 55-38 Filed 06/16/25   Page 19 of 29 Page
                                                       IDEXHIBIT
                                                      SOS #:1558 283




                                                   Spring 3
• Prior to development, flowed 15-19 gpm in spring and
  summer (SOS 040_003, 004,010)
• Rowe referenced Spring 3 flowing in a stream (SOS
  040_005)                                    SOS 040_004
• From atop bed rock at head of farthest west(Rowe,
                                               and July 31, 1930)
  [illegible] of Strawberry Creek” (SOS 040_004 (July 31,
  1930)
• Developed in 1933 (FR 153 (ETW, 1976))




                                                                                                       SOS 283 018
                  Case 5:24-cv-01336-JGB-DTB        Document 55-38 Filed 06/16/25   Page 20 of 29 Page
                                                         IDEXHIBIT
                                                        SOS #:1559 283




    Spring 4
• Spring # 4 was a large natural spring that was destroyed
  during development. Rowe originally referred to it as the
  “Big Spring.” (SOS 040_005)

• The water that fed Spring #4 was almost totally diverted
  by development of Spring #2. (FR 153_006)

•   The streamflow at the confluence of 1,2, 3, and 4 was 170 gpm on
    July 3, 1930 before diversion (SOS 040_006) and dropped to 20
    gpm by October 1930 (SOS 044_1) after development of Spring 2.




                                                                                                         SOS 283 019
                Case 5:24-cv-01336-JGB-DTB    Document 55-38 Filed 06/16/25   Page 21 of 29 Page
                                                   IDEXHIBIT
                                                  SOS #:1560 283




Weir 1 (below confluence of 1,2,3,4)
  • Rowe observed an area lined with riparian vegetation: alders, willows, ferns
    in 1930 (SOS 040_006; 051_001). In fact, from Weir 1 to station 86, a distance
    of 3,500 feet Rowe reported “heavy alder growth” (SOS 055_17) which is not
    true today
  • After development of Spring 2, flows fell to 2-3 miners inches in
    August/September 1930. When Spring 2 turned back in, flows jumped to 10-
    11 miner’s inches. (SOS 055-016)
  • As much as 19.8 gpm on September 29, 1930 (SOS 051_005-012)




                                                                                                   SOS 283 020
              Case 5:24-cv-01336-JGB-DTB   Document 55-38 Filed 06/16/25   Page 22 of 29 Page
                                                IDEXHIBIT
                                               SOS #:1561 283




 Springs 7
• Spring 7 was added to 2, 3, and 4 in 1934. (FR 153_5 (ETW, 1976))

• It was originally developed as a tunnel (SOS 277_027)

• When the newer drilled 7A, 7B, and 7C were shut in, flow returned to the old
  tunnel—eventually at 19.4 gpm on July 29, 1985 (SOS 277_055)




                                                                                                SOS 283 021
                Case 5:24-cv-01336-JGB-DTB   Document 55-38 Filed 06/16/25   Page 23 of 29 Page
                                                  IDEXHIBIT
                                                 SOS #:1562 283




 Springs 10, 11, 12
• Flows in Creek were augmented by inflow from Springs (10, 11, and 12)
  at the Cienega. (SOS 51-001, paragraph 3.)

• Boreholes 10 and 11 drilled in 1979, and 12 in 1981 (SOS 277_060)




                                                                                                  SOS 283 022
               Case 5:24-cv-01336-JGB-DTB      Document 55-38 Filed 06/16/25   Page 24 of 29 Page
                                                    IDEXHIBIT
                                                   SOS #:1563 283




Station #64
“Measured total flow of Strawberry Creek below camp #2. Bedrock on
both sides. Alders cover area about 75’ wide-[illegible].
2 pipes together 5 gals 2.1 secs.
Separate: 5 gals in 4.0 Q = 15.9
                                                        SOS 040_007
5 gals in 4.4”                                          Rowe, July 3, 1930




                                                                                                    SOS 283 023
             Case 5:24-cv-01336-JGB-DTB   Document 55-38 Filed 06/16/25   Page 25 of 29 Page
                                               IDEXHIBIT
                                              SOS #:1564 283




Weir 3, Station #0.0
• Location of the “hotel pickup”
• Hotel diversion was built in 1929 (SOS 051_001 (last
  paragraph))




                                                                                               SOS 283 024
      Case 5:24-cv-01336-JGB-DTB   Document 55-38 Filed 06/16/25    Page 26 of 29 Page
                                        IDEXHIBIT
                                       SOS #:1565 283




BTB’s predecessors were not collecting water
     in Strawberry Canyon prior to 1930

  “BTB and its predecessors-in-interest have collected water within Strawberry Canyon for more
  than 120 years.” –Nichols (BTB-7 (paragraph 12))




  Opinion: For the Arrowhead Hotel to source water by gravity feed from Strawberry Canyon
  would have required crossing over Cold Creek; sourcing from East Twin Creek would
  have required pumping. There is no evidence of either.




                                                                                           SOS 283 025
      Case 5:24-cv-01336-JGB-DTB   Document 55-38 Filed 06/16/25   Page 27 of 29 Page
                                        IDEXHIBIT
                                       SOS #:1566 283




                                   Evidence

1. Lack of any mention in historical record of a pipeline or pumping system,
   including by Rowe
2. No FS permit prior to 1930
3. No written or physical evidence of a pump or pipe over Cold Canyon (see next
   slide)




                                                                                        SOS 283 026
                   Case 5:24-cv-01336-JGB-DTB       Document 55-38 Filed 06/16/25   Page 28 of 29 Page
                                                         IDEXHIBIT
                                                        SOS #:1567 283




     Arrowhead Springs Hotel is at a higher elevation
      than the confluence of Cold Water Creek and
                    Strawberry Creek            Hotel

Before 1929, the hotel and bottling works water was                                                           Confluence
stored in a reservoir north (higher elevation) than the
hotel. Even the hotel was at a higher elevation than
the confluence of Strawberry and Cold Creek. So, to
supply the water supply reservoir before the
construction contracted in 1929, either a long
pipeline crossing over Cold Creek would have been
required, or a pump. Neither is mentioned in any
record I have reviewed.




                                                                                                         Source: SOS 91
                                         FR 43_028-029                                                   1905 Topo Map
                                         G.E. Baily (year)




                                                                                                            SOS 283 027
    Case 5:24-cv-01336-JGB-DTB   Document 55-38 Filed 06/16/25   Page 29 of 29 Page
                                      IDEXHIBIT
                                     SOS #:1568 283




                            Conversions

1 miner’s Inch = 9 gallons per minute (Southern California)

        1,440 gallons per day = 1 gallon per minute

       1.61 acre feet per year = 1 gallon per minute




                                                                                      SOS 283 028
